                     UNITED STATES DISTRICT COURT
                  MIDDLE DISTRICT OF NORTH CAROLINA

NORTH CAROLINA ALLIANCE FOR
RETIRED AMERICANS,
                                                       COMPLAINT FOR
     Plaintiff,
                                                     DECLARATORY AND
     v.                                              INJUNCTIVE RELIEF

ALAN HIRSCH, in his official capacity
as Chair of the State Board of Elections,                Case No. 1:23-cv-837
JEFF CARMON, in his official capacity
as Secretary of the State Board of
Elections, STACY EGGERS IV, in his
official capacity as Member of the State
Board of Elections, KEVIN N. LEWIS,
in his official capacity as Member of the
State Board of Elections, SIOBHAN
O’DUFFY MILLEN, in her official
capacity as Member of the State Board of
Elections, KAREN BRINSON BELL, in
her official capacity as Executive
Director of the State Board of Elections,

     Defendants.


      Plaintiff North Carolina Alliance For Retired Americans (“the Alliance”), by

and through its undersigned counsel, files this Complaint for Declaratory and

Injunctive Relief against Defendants, the members and executive director of the

North Carolina State Board of Elections (“NCSBE”) (collectively, “Defendants”).

In support of its Complaint, the Alliance alleges as follows:




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                            NATURE OF THE CASES

      1.     The Voting Rights Act (“VRA”) prohibits states from preventing

otherwise eligible voters from voting for President and Vice President based on how

long they have resided in the state before election day. And the U.S. Constitution

prohibits such requirements in all elections.

      2.     Section 202 of the VRA is explicit: “No citizen of the United States

who is otherwise qualified to vote in any election for President and Vice President

shall be denied the right to vote . . . in such election because of the failure of such

citizen to comply with any durational residency requirement of such State or

political subdivision.” 52 U.S.C. § 10502(c) (emphasis added).

      3.     Likewise—regarding all elections—the United States Supreme Court

has held that “[d]urational residence requirements” that “completely bar from voting

all residents not meeting the fixed durational standards” deprive voters of the

fundamental right to vote and impinge on the fundamental right of interstate travel.

Dunn v. Blumstein, 405 U.S. 330, 336, 338 (1972).

      4.     To be sure, both the VRA and the U.S. Constitution allow states to

impose short, pre-election registration requirements, and to limit registration and

voting to bona fide residents. Specifically, the VRA authorizes registration deadlines

up to 30 days before a presidential election. 52 U.S.C. § 10502(d). The U.S.

Constitution allows short, pre-election registration deadlines where “necessary to



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permit preparation of accurate voter lists.” Marston v. Lewis, 410 U.S. 679, 680–81

(1973). And states are entitled to limit registration to voters who are bona fide

residents. Dunn, 405 U.S. at 351.

      5.     But a registration requirement is different from a pre-election

durational residency requirement, which the VRA absolutely prohibits in

presidential elections, 52 U.S.C. § 10502(c), and which impinges on fundamental

rights to vote and travel, with no adequate justification, in all elections, Dunn, 405

U.S. at 343–60. Both the VRA and the U.S. Constitution protect voters from being

denied the fundamental right to vote simply because they moved to another state

shortly before election day if they otherwise comply with the state’s registration

deadlines and other requirements.

      6.     North Carolina law violates these federal protections by imposing a pre-

election durational residency requirement that is longer than the registration

deadline, and that therefore prevents voters who could otherwise lawfully register

and cast ballots from doing so just because they moved into the state too recently.

This requirement applies an arbitrary residency requirement to deny voters their

right to participate in elections in their new domicile.

      7.     Specifically, as an eligibility requirement for voting, North Carolina

requires that a voter has “resided in the State of North Carolina and in the precinct

in which the person offers to vote for 30 days next preceding an election.” N.C. Gen.


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Stat. § 163-55(a); see also N.C. Const. art. VI, § 2, para. 1 (“Any person who has

resided in the State of North Carolina for one year and in the precinct, ward, or other

election district for 30 days next preceding an election, and possesses the other

qualifications set out in this Article, shall be entitled to vote . . . .”) (collectively, the

“Durational Residency Requirement”).1

       8.     North Carolina law also requires voters to attest under penalty of

perjury that they have resided in the state for at least 30 days before the date of the

election. See N.C. Gen. Stat. § 163-82.4(c)(1) (requiring voters to attest to meeting

the state’s durational residency requirement on their voter registration form). And

North Carolina law includes no exception for presidential and vice-presidential

elections.

       9.     These laws flatly violate both the VRA and the U.S. Constitution.



1
  North Carolina enforces its constitution’s 30-day precinct residency requirement
but not its one-year state residency requirement, which has been held
unconstitutional. See, e.g., Qualifications to Register to Vote, N.C. STATE BD. OF
ELECTIONS, available at https://www.ncsbe.gov/registering/who-can-register
(accessed Oct. 2, 2023) (instructing that North Carolina residents must have resided
in the state for at least 30 days prior to election day to be qualified to register to
vote); Andrews v. Cody, 327 F. Supp. 793, 795 (M.D.N.C. 1971), aff’d, 405 U.S.
1034 (1972) (holding North Carolina Constitution’s one-year durational residency
requirement unconstitutional as applied to right to vote in local elections); see also
Dunn, 405 U.S. at 348–49 (invalidating Tennessee’s durational residency
requirement of one year in State and three months in county, where registration
cutoff was 30 days before election). Accordingly, references herein to the North
Carolina Constitution’s Durational Residency Requirement refer to the 30-day
durational residency requirement only.

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       10.    To ensure that North Carolina voters, including the members and

constituents of the Alliance, will not be denied their right to vote in violation of the

VRA and the U.S. Constitution, the Alliance seeks an order from this Court declaring

the Durational Residency Requirement unlawful and enjoining its enforcement

because it: (1) violates Section 202 of the VRA, and (2) violates the First and

Fourteenth Amendments of the U.S. Constitution.

                           JURISDICTION AND VENUE

       11.    Plaintiff brings this action under 42 U.S.C. §§ 1983 and 1988 to redress

the deprivation under color of state law of rights secured by federal law and the U.S.

Constitution.

       12.    This Court has original jurisdiction over the subject matter of this action

under 28 U.S.C. §§ 1331 and 1343 because the matters in controversy arise under

the Constitution and laws of the United States.

       13.    This Court has personal jurisdiction over Defendants, who are sued in

their official capacities only.

       14.    Venue is proper in this Court under 28 U.S.C. § 1391(b) because (1) all

Defendants are residents of North Carolina in which this judicial district is located,

and (2) a substantial part of the events giving rise to Plaintiff’s claims occurred in

this judicial district.




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      15.       This Court has the authority to enter a declaratory judgment and provide

permanent injunctive relief pursuant to Rules 57 and 65 of the Federal Rules of Civil

Procedure and 28 U.S.C. §§ 2201–2202.

                                       PARTIES

      16.       Plaintiff North Carolina Alliance for Retired Americans (“the

Alliance”) is a 501(c)(4) nonprofit social welfare organization incorporated in North

Carolina. It is a chartered state affiliate of the Alliance for Retired Americans, a

nationwide grassroots organization with more than 4.3 million members. The

mission of the Alliance and its nationwide affiliate is to ensure social and economic

justice and full civil rights for retirees, with particular emphasis on safeguarding

their right to vote. The Alliance has approximately 52,000 members across North

Carolina, including thousands of members in this judicial district, and new members

are constantly joining its ranks. As a result, it is imperative for the Alliance that its

members who move to North Carolina and intend to make the State their new

domicile are entitled to vote in the elections that matter to them and will affect them

as residents.

      17.       The Durational Residency Requirement threatens both the Alliance’s

members’ voting rights and the Alliance itself, as an organization. First, the

Durational Residency Requirement harms new members of the Alliance who move

to North Carolina within the month leading up to any federal election. New members


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join the Alliance’s ranks each month, including in the month before each federal

election, as North Carolina is an especially popular state for relocating retirees.

Because of the Durational Residency Requirement, such members—who would

otherwise vote in North Carolina—will be unable to do so.

      18.    For the same reasons, the Durational Residency Requirement directly

threatens the Alliance’s mission, which relies on the electoral engagement of its

members. By systematically preventing many of the Alliance’s members from

voting in the first year of their move, the Durational Residency Requirement

undermines the Alliance’s get-out-the-vote work in North Carolina and its advocacy

work on other public policy issues that are critical to its membership, including the

pricing of prescription drugs and protecting benefits from Social Security, Medicare,

and Medicaid, making the Alliance less effective in furthering its mission than it

otherwise would be, and requiring it to spend additional resources that it would

otherwise spend in other ways.

      19.    Defendants Alan Hirsch, Jeff Carmon, Stacy Eggers IV, Kevin Lewis,

and Siobhan Millen are sued in their official capacities as Members of the North

Carolina State Board of Elections (“NCSBE”). NCSBE is the supervising entity for

elections in the state. N.C. Gen. Stat. § 163-22. It is empowered to promulgate

“reasonable rules [or] regulations with respect to the conduct of primaries and

elections” that are consistent with North Carolina’s Election Laws, and it must


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“compel observance of the requirements of the election laws by county boards of

elections and other election officers.” Id.; see also id. § 163-33(1), (12) (NCSBE is

also authorized to establish rules, orders, and directives, as necessary for the

guidance of election officers and voters, with which county boards must comply).

The NCSBE shall also determine “the form and content of . . . [all] other forms to

be used in primaries and elections,” and “shall furnish to the county boards of

elections the registration application forms” to be used by voters. Id. § 163-22(e).

The members of the NCSBE, personally and through the conduct of their employees,

officers, agents, and servants, act under the color of State law at all times relevant to

this action.

       20.     Karen Bell is sued in her official capacity as Executive Director of the

NCSBE. The Executive Director is the chief state elections official. Id. § 163-27.

The Executive Director leads the NCSBE, and, as the chief state elections official,

is responsible for administering elections. Id. § 163-278.21. The Executive Director

is also tasked with supervising the county boards of elections and is authorized to

approve certain county-level policies. Executive Director Bell, personally and

through the conduct of her employees, officers, agents, and servants, acts under the

color of State law at all times relevant to this action.




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                      STATEMENT OF FACTS AND LAW

I.    North Carolina state law requires voters to reside in the state for at least
      30 days before the election in which they seek to vote.

      21.    North Carolina imposes a clear durational residency requirement on

voters who seek to vote in the state.

      22.    Under state law, a voter is “qualified to vote in the precinct in which

the person resides” if that voter meets several criteria. First, the voter must have been

born in the United States or naturalized. N.C. Gen. Stat. § 163-55(a). Second, the

voter must be at least 18 years old. Id. Third, the voter cannot be disqualified from

voting for being adjudged guilty of a felony. Id. Finally, the voter must have “resided

in the State of North Carolina and in the precinct in which the person offers to vote

for 30 days next preceding an election.” Id.; see also N.C. Const. art. VI, § 2, para. 1.

      23.    North Carolina applies this Durational Residency Requirement to all

registering voters uniformly with no exceptions.

      24.    In order to register to vote, voters must attest to meeting this residency

requirement on their registration forms.

      25.    North Carolina’s voter registration form requires registrants to sign and

attest “under penalty of a Class I felony” that they meet each of the state’s voting

eligibility requirements. N.C. Gen. Stat. § 163-82.4(c)(1); see also id. § 163-275(13)

(making it a Class I felony “[f]or any person falsely to make or present any certificate

or other paper to qualify any person fraudulently as a voter”).


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      26.     State law does not allow any voter to forgo these attestations at any

stage of the registration process, or for any election.

      27.     And while the North Carolina Constitution provides that “[t]he General

Assembly may reduce the time of residence for persons voting in presidential

elections,” N.C. Const. art. VI, § 2, North Carolina has repealed the law that once

exempted presidential and vice-presidential elections from the ambit of the

Durational Residency Requirement. See N.C. Gen. Stat. § 163-56 (“A person who

has been a resident for this State for not less than sixty days immediately prior to the

date of a presidential election shall be entitled to register and vote for presidential

and vice-presidential electors in such election but for no other offices, provided he

is then qualified to register and vote in this State except for the fact that he has not

resided in this State for one year prior to the election,” repealed by Laws 1973, c.

793, § 19).

II.   Otherwise eligible North Carolina voters who just moved to the state and
      intend to stay in the state indefinitely must be allowed to vote in all federal
      elections affecting them in their new home.

      28.     The Durational Residency Requirement prevents otherwise qualified

voters from registering and voting. North Carolina voters who miss the normal

registration deadline may register to vote through same-day registration, which

begins 20 days before the election at the start of the early voting period and ends the

Saturday before election day. See id. § 163-227.2(b).



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      29.    During this time, eligible North Carolinians can register to vote in

person as well as cast their ballots on the same day at an early voting site. See id.

      30.    In order to register, same-day registrants must complete the standard

North Carolina voter registration application, which requires registrants to attest,

under penalty of perjury, that they have, among other requirements, been a resident

of North Carolina and their county and precinct for at least 30 days before the date

of the election in which they intend to vote. See supra ¶¶ 24–26.

      31.    However, if a registrant moves to North Carolina within 30 days of

election day and establishes a “fixed” habitation “to which, whenever that person is

absent, that person has the intention of returning,” N.C. Gen. Stat. § 163-57 (defining

“residence” for registration and voting), the registrant still cannot satisfy the state’s

Durational Residency Requirement. They also cannot truthfully make the required

attestations to register to vote. See supra ¶¶ 24–26.

      32.    Thus, even though North Carolina affords some new voter registrants

the opportunity to register to vote within 20 days of election day, North Carolina

residents who move into the state within 30 days of election day are prevented from

voting solely because of the state’s Durational Residency Requirement.




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III.   Under the VRA, states may not deny otherwise qualified voters the right
       to vote in presidential elections based on the duration they have resided
       in that state.

       33.   Section 202 of the VRA Amendments of 1970 “completely abolish[es]

the durational residency requirement as a precondition to voting for President and

Vice President” and states that otherwise qualified voters may not “be denied the

right to vote for electors for President and Vice President, or for President and Vice

President, in such election because of the failure of such citizen to comply with any

durational residency requirement of such State or political subdivision.” 52 U.S.C.

§ 10502(b), (c).

       34.   North Carolina law constitutes a durational residency requirement that

serves as a precondition to voting for President and Vice President, in direct violation

of Section 202.

       35.   Unlike some other states, North Carolina law does not provide any

exception to the state’s Durational Residency Requirement for voters who intend to

vote in a presidential and vice presidential election. See, e.g., N.Y. Elec. Law § 5-

102(2) (“The provisions herein with respect to a durational residency requirement

for purposes of qualifying to vote shall not prohibit United States citizens otherwise

qualified, from voting for president and vice president of the United States.”); Nev.

Rev. Stat. § 298.259(1) (“If a new resident of the State of Nevada otherwise qualified

to vote in another state in any election for President and Vice President of the United



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States has commenced his or her residence in this State after the 30th day next

preceding that election and for this reason does not satisfy the requirements for

registration in this State, the new resident may vote for President and Vice President

in this State.”).

       36.    Section 202 prohibits states from requiring voters to attest to their

residency status as a precondition for registering to vote because doing so would

deny a U.S. citizen “who is otherwise qualified to vote” in North Carolina “the right

to vote for electors for President and Vice President, or for President and Vice

President . . . because of the failure of such citizen to comply with any durational

residency requirement of such State or political subdivision.” 52 U.S.C. § 10502(c).

       37.    The VRA does allow imposition of a 30-day pre-election registration

cutoff, even in presidential elections. Id. § 10502(d). And voters who do “not satisfy

the registration requirements of” a new state of residence may vote for president and

vice president in their prior state of residence. Id. § 10502(e) (emphasis added). But

those provisions do not apply to the Durational Residency Requirement, because it

is not a 30-day pre-election registration cut off, and because North Carolina does

not impose such a cutoff. Rather, voters who could otherwise register and vote

within 30 days of a presidential and vice presidential election are prohibited from

doing so solely because they have not lived in the state for long enough before the

election. That is precisely what Section 202 of the VRA prohibits.


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IV.   The U.S. Constitution also prohibits states from denying the right to vote
      to otherwise qualified voters who do not satisfy the Durational Residency
      Requirement.

      38.    Durational residency requirements such as North Carolina’s

“completely bar from voting all residents not meeting the fixed durational

standards.” Dunn, 405 U.S. at 336.

      39.    The Durational Residency Requirement “den[ies] . . . the right to vote”

to citizens who move to North Carolina in time for same-day voter registration, but

within 30 days of an election, “deprive[s] them of ‘a fundamental political right, . . .

preservative of all rights,’” and “directly impinge[s] on” the right to interstate travel.

Id. at 336, 338 (quoting Reynolds v. Sims, 377 U.S. 533, 562 (1964)).

      40.    To be sure, states may establish criteria for what makes a voter a bona

fide state resident for voting. See id. at 349–51; see also N.C. Gen. Stat. § 163-57

(defining “residence” for purpose of voting and as “that place. . . in which that

person’s habitation is fixed, and to which, whenever that person is absent, that person

has the intention of returning”).

      41.    But unlike this straightforward, forward-looking residency definition

that turns on where a voter intends to make their home in the future, the additional

backward-looking Durational Residency Requirement “penalize[s] those persons

who have traveled from one place to another” by “divid[ing] residents into two




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classes, old residents and new residents, and discriminat[ing] against the latter to the

extent of totally denying them the opportunity to vote.” Dunn, 405 U.S. at 334-35.

      42.       States may also constitutionally impose pre-election registration

cutoffs where “necessary to permit preparation of accurate voter lists.” Marston, 410

U.S. at 681. If a state’s durational residency requirement coincides with its

constitutional registration deadline, a voter would not be independently injured by

the residency requirement because they would also be unable to register before the

state’s predetermined deadline. See id. at 680 (declining to strike down retrospective

durational residency requirement where it was tied to “closing of the State’s [voter]

registration process”).

      43.       But unlike in Marston, North Carolina voters are injured by the

Durational Residency Requirement. While there is a statutory mechanism through

which a voter can register to vote up to the Saturday before election day, that

mechanism affords no relief to new residents of North Carolina: Applicants who

move into the state within 30 days of the election are unable to avail themselves of

these same-day registration processes solely because they have moved to the state

too recently.

      44.       There is no legitimate state interest furthered by the Durational

Residency Requirement, let alone a compelling and substantial one, so the law

cannot withstand constitutional scrutiny. Dunn, 405 U.S. at 341, 358-60.


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                               CLAIM FOR RELIEF

                                     COUNT I
                           Voting Rights Act Section 202
            52 U.S.C. § 10502; 42 U.S.C. § 1983; 28 U.S.C. §§ 2201, 2202

      45.     Plaintiff re-alleges and incorporates by reference paragraphs 1 through

45 as though fully set forth herein.

      46.     During the 1970 amendment of the VRA, Congress identified several

findings about “the imposition and application of the durational residency

requirement as a precondition to voting for the offices of President and Vice

President, and the lack of sufficient opportunities for absentee registration and

absentee balloting in presidential elections.” 52 U.S.C. § 10502(a).

      47.     In particular, Congress found that such requirements deny or abridge

voters’ inherent constitutional right to vote for their President and Vice President,

their right to free movement across State lines, and equality of civil rights, and due

process and equal protection of the laws guaranteed under the Fourteenth

Amendment. Congress also found that such requirements do not “bear a reasonable

relationship to any compelling State interest in the conduct of presidential elections.”

52 U.S.C. § 10502(a)(6).

      48.     Codifying these findings, Section 202(b) of the VRA Amendments of

1970 provides:

      Congress declares that in order to secure and protect the above-stated
      rights of citizens under the Constitution, to enable citizens to better


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      obtain the enjoyment of such rights, and to enforce the guarantees of
      the fourteenth amendment, it is necessary (1) to completely abolish the
      durational residency requirement as a precondition to voting for
      President and Vice President . . . .

52 U.S.C. § 10502(b).

      49.    Section 202(c) of the VRA Amendments of 1970 further provides, in

relevant part:

      No citizen of the United States who is otherwise qualified to vote in any
      election for President and Vice President shall be denied the right to
      vote for electors for President and Vice President, or for President and
      Vice President, in such election because of the failure of such citizen to
      comply with any durational residency requirement of such State or
      political subdivision . . . .

52 U.S.C. § 10502(c).

      50.    The Durational Residency Requirement violates Section 202 of the

VRA by conditioning a voter’s eligibility to vote on whether that voter has been in

the state for a certain period of time before election day. See N.C. Gen. Stat. § 163-

55(a); N.C. Const. art. VI, § 2, para. 1.

      51.    The Durational Residency Requirement denies U.S. citizens “who [are]

otherwise qualified to vote” in North Carolina “the right to vote for electors for

President and Vice President, or for President and Vice President” solely because

they do not “comply with any durational residency requirement of such State or

political subdivision.” 52 U.S.C. § 10502(c).




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      52.    For these reasons, the Durational Residency Requirement, and any

related attestations related to a voter’s residency status, must be enjoined from

enforcement with regard to any election for President and Vice President.

                                COUNT II
                    First and Fourteenth Amendments
   U.S. Const. Amend. I and XIV; 42 U.S.C. § 1983, 28 U.S.C. §§ 2201, 2202

      53.    Plaintiff realleges and incorporates by reference paragraphs 1 through

52 as though fully set forth herein.

      54.    The U.S. Supreme Court has invalidated laws like the Durational

Residency Requirement on the grounds that such laws unduly burden the right to

vote and “penalize those persons who have traveled from one place to another to

establish a new residence during the qualifying period.” Dunn, 405 U.S. at 334.

      55.    Laws like the Durational Residency Requirement “divide residents into

two classes, old residents and new residents, and discriminate against the latter to

the extent of totally denying them the opportunity to vote.” Id. at 334–35.

      56.    “By denying some citizens the right to vote,” the Durational Residency

Requirement “deprive[s] them of ‘a fundamental political right, . . . preservative of

all rights.’” Id. at 336 (quoting Reynolds, 377 U.S. at 562).

      57.    Because it implicates a fundamental right, the Durational Residency

Requirement is constitutional “only upon a clear showing that the burden imposed




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is necessary to protect a compelling and substantial governmental interest.” Id. at

340–41 (internal quotations omitted).

      58.    The Durational Residency Requirement is not necessary to protect a

compelling and substantial governmental interest. See id. at 343–44, 352, n.22

(distinguishing interests served by voter registration deadline, and a forward-looking

residency requirement, from interests served by backward-looking durational

residency requirement).

      59.    For these reasons, and in accordance with the Supreme Court’s holding

in Dunn v. Blumstein, North Carolina state law violates the First and Fourteenth

Amendments of the United States Constitution.

                             PRAYER FOR RELIEF

      WHEREFORE, Plaintiff respectfully requests that this Court enter

judgment:

      a)     Declaring that Defendants have violated Section 202 of the Voting
             Rights Act and the First and Fourteenth Amendments to the U.S.
             Constitution;

      b)     Permanently enjoining Defendants and their respective agents, officers,
             employees, and successors, and all persons acting in concert with each
             or any of them, from enforcing the Durational Residency Requirement,
             such as by including the Durational Residency Requirement on the
             voter registration form or by denying any voter the ability to vote on
             the basis of their failure to have resided in the state, county, or precinct
             of North Carolina for a minimum of 30 days before the date of the
             election;




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      c)    Awarding Plaintiff its costs, disbursements, and reasonable attorneys’
            fees incurred in bringing this action pursuant to 42 U.S.C. § 1988 and
            other applicable laws; and

      d)    Granting such other and further relief as the Court deems just and
            proper.

Dated: October 2, 2023.                Respectfully submitted,

                                       /s/ Narendra K. Ghosh
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                                       *Notices of Special Appearance
                                       Forthcoming


                                       Counsel for Plaintiff




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